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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


                                              )
ABDULRAHMAN ALHARBI,                          )
                                              )
                               Plaintiff,     )
                                              )
v.                                            )               Civil Action
                                              )               No. 14-11550-PBS
GLENN BECK; THE BLAZE, INC.;                  )
MERCURY RADIO ARTS, INC.; and                 )
PREMIERE RADIO NETWORKS, INC.,                )
                                              )
                               Defendants.    )
                                              )


                       AFFIDAVIT OF COUNSEL AUTHENTICATING
                           CERTAIN DISCOVERY MATERIALS

       I, Peter J. Haley, being of legal age, on oath, do depose and state that:

       1.       I represent the Plaintiff Abdulrahman Alharbi in this action.

       2.       Attached hereto as the following Exhibits to this Affidavit are true and accurate

copies of materials produced in the course of discovery in this matter:

       A. Deposition Exhibits 63, 65, 69, 70, 71, 72, 73, 75, 76, 77, 83, 86, 87, 89, 90, 94, 95.

       B. Deposition Exhibits 60 and 61.

       C. Deposition Exhibit 88, Pages 0001-00013.

       D. Deposition Exhibit 68, pages 00192- 00193.

       E. Deposition Exhibit 68, page 00835.

       F. Deposition Transcript of Glenn Beck.

       G. Deposition Transcript of Joe Cheatwood.

       H. Deposition Transcript of George (Joe) Weasel, III.



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       Signed under the penalties of perjury this 29th day of April, 2016.



                                                      /s/ Peter J. Haley______
                                                     Peter J. Haley

Dated: May 3, 2016

                                CERTIFICATE OF SERVICE

       I, Peter J. Haley, hereby certify that on this 29th day of April, 2016 this pleading was
served on counsel to the Defendants in this action.

                                             /s/Peter J. Haley
                                             Peter J. Haley




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THE EXHIBITS TO THIS PLEADING HAVE BEEN REDCATED IN ACCORDANCE WITH
                    THE COURT'S ORDER OF MAY 2, 2016.




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